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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NEW YORK



 THE FORTUNE SOCIETY, INC.
 29-76 Northern Blvd
 Long Island City, NY 11101

             Plaintiff,
                                              Civil Action No. 1:14-cv-6410
       v.

 SANDCASTLE TOWERS HOUSING
 DEVELOPMENT FUND CORP.                       Magistrate Judge Vera M. Scanlon
 1465A Flatbush Ave.
 Brooklyn, NY 11210
                                              Oral Argument Requested
 SARASOTA GOLD LLC
 1407 48th Street
 Brooklyn, NY 11219

 E & M ASSOCIATES LLC
 1465A Flatbush Ave.
 Brooklyn, NY 11210

 and

 WEISSMAN REALTY GROUP LLC
 45 Broadway, 12th Floor
 New York, NY 10006


             Defendants.




  REVISED BRIEF IN SUPPORT OF PLAINTIFF THE FORTUNE SOCIETY, INC.’S
    MOTION FOR PARTIAL SUMMARY JUDGMENT AGAINST DEFENDANTS
   SARASOTA GOLD, LLC, SANDCASTLE TOWERS HOUSING DEVELOPMENT
    FUND CORPORATION, AND E & M ASSOCIATES, LLC AND TO EXCLUDE
                      REBUTTAL EXPERT REPORTS
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                                                 INTRODUCTION
          Defendants Sarasota Gold, LLC, Sandcastle Towers Housing Development Fund

 Corporation, and E & M Associates, LLC (“Defendants”1) own and operate a large apartment

 complex in Queens called The Sand Castle. Summary judgment should be granted against

 Defendants because they refuse to consider applicants on a nondiscriminatory basis as required

 by the Fair Housing Act, 42 U.S.C. § 3601 et seq. (“FHA”) and the New York State and City

 Human Rights Laws (“HRL”). Plaintiff The Fortune Society (“Fortune”), a New York City

 organization that helps formerly incarcerated individuals find housing, has been denied housing

 by Defendants three times because of Defendants’ unlawful and discriminatory policies.

          The undisputed evidence establishes that Defendants maintain and enforce a policy or

 practice that automatically and categorically excludes applicants and prospective applicants who

 have a criminal record.2 Defendants have openly and repeatedly advertised their exclusionary

 policy online. On more than 40 occasions, The Sand Castle’s rental manager made express

 written statements to brokers and members of the public that applicants with criminal records

 would not be considered or accepted. Defendants state that the “no criminal background”

 language in their public pronouncements “correctly state the criteria” for applications. SOF ¶

 107.3 That Defendants enforce their stated policy is evident from a review of the available tenant



 1
   “Defendants” is used herein to refer to these three entities. Fortune moves for summary judgment against these
 three Defendants on its race discrimination claims (Counts I-III) based on disparate impact. Fortune’s alternative
 ground for liability on Counts I to III – intentional discrimination – is not at issue in this motion and is not necessary
 to establish Defendants’ liability. Evidence of intentional racial discrimination will remain for trial, as will Fortune’s
 source of income discrimination claim (Count IV). Fortune does not move for summary judgment as to the fourth
 Defendant, Weissman Realty Group LLC (“Weissman Realty”).
 2
  “Criminal record” refers to record of conviction for a felony or a misdemeanor only. Plaintiff acknowledges that
 applicants with only traffic-related misdemeanors or violations may not be subject to Defendants’ policy.
 3
  Plaintiff’s Statement Of Material Facts As to Which There Is No Genuine Issue To Be Tried, submitted herewith
 pursuant to Local Civil Rule 56.1(a) (referred to herein as “SOF”).


                                                             1
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 files (there are over 1200). Even with Defendants’ acknowledgement of errors in applying their

 screening process, these files show that 99.6% of applicants accepted over the last decade have

 no criminal record (excluding traffic-related misdemeanors). Moreover, Defendants openly

 acknowledge that applicants with felony convictions are automatically rejected without regard to

 the recency or severity of the crime.

        Defendants’ unlawful actions cause a large and statistically significant disparate impact

 because African Americans and Latinos in the qualified applicant pool are at least twice as likely

 as whites to have a criminal record. Further, any public safety concerns based on past criminal

 conduct can be satisfied with the less discriminatory alternative of individualized review of

 applicants who have criminal records. Defendants are therefore liable for discrimination. This

 conclusion is compelled by (1) Supreme Court and Circuit law on disparate impact; (2) guidance

 from the U.S. Department of Housing and Urban Development (“HUD”) and the U.S. Equal

 Employment Opportunity Commission (“EEOC”) stating that blanket bans against people with

 criminal records in housing and employment, respectively, cause an unlawful disparate impact;

 and (3) case law holding that blanket bans in employment cause an unlawful disparate impact.

        Under the FHA, facially neutral policies or practices that disproportionately and

 adversely affect members of a protected class are unlawful unless the defendant can prove that

 the practice “is necessary to achieve one or more substantial, legitimate, nondiscriminatory

 interests.” Mhany Mgmt., Inc. v. Cty. of Nassau, 819 F.3d 581, 617 (2d Cir. 2016); see also

 Texas Dep’t of Hous. & Cmty. Affairs v. Inclusive Cmtys. Project, Inc. (“ICP”), 135 S. Ct. 2507,

 2514-15 (2015). Even if the defendant can meet that burden, a plaintiff will prevail by

 demonstrating that the same legitimate interests could be served through a less discriminatory

 alternative. Mhany Mgmt., 819 F.3d at 618.



                                                  2
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         Guidance recently issued by HUD confirms what Fortune has alleged since the start of

 this case: that blanket bans like Defendants’ can be expected to have a disproportionate adverse

 effect on African Americans and Hispanics because of disparities in the criminal justice system,

 and that blanket bans are never necessary to achieve the legitimate interest of promoting safety.

 See Ex. A (HUD, Office of Gen. Counsel Guidance on Application of FHA Standards to the Use

 of Criminal Records by Providers of Housing and Real Estate-Related Transactions) (Apr. 4,

 2016) (“HUD Guidance”) at 2, 6, 10. HUD even cites this case in explaining why a safety

 interest is insufficient as a matter of law to support a blanket ban. See id. at 4 n.23. The HUD

 Guidance further holds that individualized consideration – based on factors such as the “nature,

 severity, and recency of criminal conduct” and “evidence of rehabilitation” – is effectively

 required because it provides a less discriminatory alternative to categorical policies. Id. at 6-7.

         The HUD Guidance mirrors the courts’ and the EEOC’s consistent rejection of blanket

 bans in the employment context. As in housing, the law under Title VII is clear that blanket bans

 disproportionately and adversely affect African Americans and Hispanics and cannot be justified

 by safety concerns, and that individualized consideration of applicants is mandatory. See, e.g.,

 Green v. Missouri Pac. R.R. Co., 523 F.2d 1290, 1293 (8th Cir. 1975); EEOC, Consideration of

 Arrest and Conviction Records in Employment Decisions Under Title VII of the Civil Rights Act

 of 1964) (“EEOC Guidance”), 2012 WL 1499883 (Apr. 25, 2012) (first issued in 1987).

 Moreover, the State of New York will soon issue “[n]ew guidance forbidding discrimination

 based on a conviction alone, and require” those receiving state housing funds “to make an

 individualized assessment of applicants.”4



 4
  See Ex. B, which is https://www.governor.ny.gov/news/governor-cuomo-announces-executive-actions-reduce-
 barriers-new-yorkers-criminal-convictions (last checked on July 14, 2016).


                                                      3
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        Here, Fortune meets its initial burden by showing, through expert analysis, that otherwise

 eligible African Americans and Latinos in the New York area housing market are significantly

 and disproportionately harmed by Defendants’ exclusionary criminal records policies. This is

 because, nationwide and locally, African Americans and Hispanics have far higher rates of

 criminal conviction as compared to whites (i.e., non-Hispanic whites). This significant disparity

 persists regardless of how the applicant pool for The Sand Castle is geographically defined or at

 which income levels potential applicants are considered eligible for tenancy. Defendants’ expert

 raises no issue of material fact with regard to these conclusions and does not dispute them.

        Although it is their burden to do so, Defendants have proffered no evidence that their

 practices further any legitimate interest. Defendants provide no empirical justification for the

 categorical criminal records practices they use, only the type of vague, “speculative” assertions

 about safety that case law and the HUD Guidance explicitly reject. See, e.g., HUD Guidance at 4.

 By contrast and consistent with the Guidance, Fortune presents expert criminological analysis

 establishing that age, the number of past crimes, and the time since the last offense are variables

 that must be jointly considered to determine if an individual is likely to pose a threat to the

 community. Further, Fortune presents evidence that individualized consideration is a less

 discriminatory alternative that will not compromise any legitimate safety concerns.

        Because the undisputed evidence shows that Defendants’ practices cause a substantial

 adverse impact that cannot be justified by a legitimate interest, and because Fortune has put

 forward a less discriminatory alternative, Fortune is entitled to summary judgment that

 Defendants are liable for violating the FHA, as well as parallel State and New York City laws.

                                   FACTUAL BACKGROUND
 I.     The Fortune Society
        Fortune is a not-for-profit organization dedicated to the successful reentry and

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 reintegration of formerly incarcerated individuals in New York City. Serving 6,000 clients a

 year, it is one of the leading national organizations addressing reentry issues. Fortune provides

 services to these clients by operating housing and employment programs, among others.

 Fortune’s client population is overwhelmingly African American and Latino. SOF ¶¶ 1-6.

          Fortune also places clients in private rental housing in the City through its grant-funded

 “scattered-site” programs. In 2013, Fortune received a housing assistance grant from New York

 State providing funding for 25 residential units to be specifically located in Queens. In the course

 of attempting to place clients using this funding, Fortune reached out to The Sand Castle, a four-

 building apartment complex located at 711 Seagirt Avenue in Far Rockaway. After Defendants

 discovered Fortune’s mission and purpose, Fortune’s request was rejected. SOF ¶¶ 7-8, 278-99.

    II.      The Sand Castle’s Background and Application Process

          A. The Sand Castle’s Background

          The Sand Castle has been owned by Defendants Sarasota Gold, LLC and/or Sandcastle

 Towers Housing Development Fund Corporation and managed by Defendant E & M Associates,

 LLC since 2006. The majority (56%) of the complex’s 917 units are studios, which rent for as

 little as $950 per month. SOF ¶¶ 11-12, 17, 23-24, 289, 310. Formerly senior housing, The Sand

 Castle is a doorman building equipped with medical facilities, a grocery store, beach access, and

 even a Jewish community center. SOF ¶ 288. A plurality of the beachfront complex’s residents

 are white. The complex is 42.6% white, 37.6% African American, and 14.9% Latino, meaning

 that the building is nearly twice as white as the zip code in which it is located. SOF ¶¶ 245-47.

          Shortly after acquiring the complex, Defendants made a multi-million dollar effort to

 upgrade it—hiring a marketing firm, renovating the lobby, and installing amenities, such as a

 new gym and media room. Defendants sought to attract a younger, more professional, and higher



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 income element. After that effort largely failed, Defendants began accepting applicants with

 subsidies, including victims of Hurricane Sandy with FEMA-funding. In June 2013, Defendants

 Sarasota Gold and Sandcastle Towers entered into an affordable housing agreement with the

 New York City Housing Development Corporation (“HDC”). SOF ¶¶ 14-17.

        B. Defendants’ General Application Process

        Defendants state that they apply the following criteria to evaluate which applicants are

 qualified to become tenants at The Sand Castle: income, creditworthiness, criminal background,

 and landlord-tenant litigation history. To become a tenant at The Sand Castle, an applicant must

 submit to criminal background, credit, and landlord-tenant litigation checks run by Sand Castle

 staff using Weimark Credit Information Services. SOF ¶¶ 79-82.

        The Weimark criminal background check is the dispositive source of criminal records

 information for applicants to The Sand Castle. The criminal background check provides

 information on the nature of the crime, whether it was a misdemeanor or felony, and the class of

 the misdemeanor or felony. Applicants are also interviewed in the process. SOF ¶¶ 83-84, 86.

        Once an applicant has been approved by Sand Castle staff, Defendants’ affordable

 housing agreement with the City requires confirmation that the applicant meets HDC’s

 maximum income restrictions. The restrictions require that 90% of Sand Castle residents earn no

 more than 125% of the Area Median Income (“AMI”) and that 10% earn no more than 135% of

 AMI. As a practical matter, this restriction means that an applicant can typically earn no more

 than approximately $70,000 annually. HDC does not apply any other criteria. SOF ¶¶ 89-93.

        C. Personnel Involved in Application Decisions

        During the period in which they have owned, controlled, and managed The Sand Castle

 (i.e., since 2006), Defendants have primarily entrusted two individuals with the authority and



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 responsibility for reviewing, screening, and rejecting tenant applications: employees Brontie

 Silvera and Rose Campbell. Campbell, The Sand Castle’s rental manager, oversees all aspects of

 the tenant selection process. Campbell fields inquiries from potential applicants and is the

 primary contact for brokers seeking to place tenants. SOF ¶¶ 34-43, 47-67.

         Since her tenure began in 2013, Campbell has also been “100 percent” responsible for

 handling tenant applications as they come in. SOF ¶ 40. Both Aryeh Ginzberg—the majority

 shareholder of Sarasota Gold, president of Sandcastle Towers, and senior employee of E & M—

 and Sruly Tress, the building manager who acts under the direction of Sarasota Gold and E & M,

 testified that Defendants have delegated near-total control over the application process to

 Campbell and that she is subject to minimal oversight in her tenant selection duties. Campbell

 rejects applicants without oversight: if an applicant’s background check indicates a criminal

 record, Campbell can make the decision to reject on her own. She does not consult with anyone

 before making that decision. SOF ¶¶ 13, 18, 25, 39-40, 47-54, 66-67, 119.5

         Prior to Campbell’s employment at The Sand Castle, her current role and function were

 performed by Brontie Silvera. SOF ¶ 56. Due to the fact that Silvera worked at The Sand Castle

 prior to Sarasota Gold’s acquisition of the complex in 2006, Defendants deferred to Silvera as to

 what applicant criteria to apply and how to apply them. Silvera was entrusted with “similar

 authority” as Campbell to screen and reject applications based on the applicant criteria. SOF ¶¶

 57-61, 66. The process Silvera used to review tenant applications was the same as Campbell’s

 current process. In fact, Campbell learned what the application criteria were directly from Silvera




 5
  Although Tress nominally supervises Campbell, he is minimally involved in the day-to-day operations and is not
 consulted when Campbell rejects an applicant. Moreover, as it was Campbell who taught Tress about the applicant
 criteria, Campbell’s understanding of the selection criteria governs the decision making process. SOF ¶¶ 45-55.



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 during their brief overlap at The Sand Castle. Although E & M employees Meyer Brecher and

 Phil Goldstein assisted in the building’s management during Silvera’s tenure, Silvera, like

 Campbell after her, did not seek the approval of any manager before rejecting an applicant and

 was largely unsupervised in the performance of her duties.6 SOF ¶¶ 62-65, 68-70.

         In sum, Defendants have allowed Silvera and Campbell to reject applicants who, in their

 view, do not meet building criteria, without supervision or approval. Defendants have not

 exercised meaningful oversight over the process used by Silvera and Campbell. SOF ¶¶ 66-67.

 III.    Fortune’s Attempts to Obtain Housing At The Sand Castle

         Fortune made three attempts to rent apartments at The Sand Castle that were denied—

 two in the summer of 2013 and the other in March 2014. First, in or around June 2013, Fortune

 employee Camille Morrison called to inquire about housing for Fortune’s clients. She was told

 that the complex does not accept people with criminal records. SOF ¶¶ 286, 290-300.

         Second, in July 2013, Fortune’s housing specialist, Kevin Carter, inquired of Sand Castle

 personnel whether apartments were available. After Carter explained Fortune’s mission to assist

 formerly incarcerated individuals find housing, Defendants’ representative informed him that

 The Sand Castle does not allow “ex-offenders” to rent apartments. SOF ¶ 292-94.

         Third, on March 24, 2014, Carter and Fortune’s President and CEO, JoAnne Page, called

 The Sand Castle’s front office to inquire about renting apartments. Carter and Page spoke to

 Tress, the complex manager. Page explained Fortune’s mission and that Fortune serves people

 who are formerly incarcerated. Tress responded that “criminal history . . . does scare us,” and

 that it is a “red flag.” Tress later called Carter and told him that The Sand Castle could not rent to


 6
  Real estate brokers Heidi Herschkowitz and Melissa Gursky, employed by Weissman Realty but acting as agents
 of Defendants, also worked on-site to assist with applicant recruitment. SOF ¶¶ 26-29, 72-77.



                                                       8
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 Fortune because the complex “was not dealing with that many vacancies” and that renting to

 Fortune was “not something that we’d be interested in right now.” In actuality, The Sand Castle

 had more than 70 vacancies at the time and was actively seeking to fill them. SOF ¶¶ 295-310.

         Ultimately, Sand Castle’s refusal to accept Fortune clients required the organization to

 expend substantial additional time and money to secure alternative housing, resources that

 otherwise would have been spent pursuing other organizational objectives. The additional out-of-

 pocket expenses alone amount to tens of thousands of dollars. SOF ¶ 312-15.7

 IV.     Defendants’ Application and Enforcement of The Sand Castle’s Applicant Criteria

         A. Defendants Enforce a Blanket Criminal Records Ban

         The Sand Castle’s refusals to rent to The Fortune Society because Fortune’s clients have

 criminal records reflect and are the direct result of Defendants’ practices. Defendants, primarily

 through Campbell and Silvera before her, maintain and enforce a policy or practice that

 automatically and categorically excludes applicants and prospective applicants who have a

 criminal record. First, Defendants advertise and otherwise publicly pronounce that such

 applicants are not considered and will be rejected. SOF ¶¶ 95-115. Second, as a review of the

 available tenant files indicates, Defendants rigorously enforce a “no criminal background” policy

 with regard to both felonies and non-traffic-related misdemeanors. SOF ¶¶ 116-47. Third, rental

 manager Campbell testified in her deposition that applicants with felony backgrounds are not

 welcome at The Sand Castle. SOF ¶¶ 124-28, 137. Defendants maintain that their practice is

 justified, asserting that “convicted criminals have no basis for complaining that landlords choose

 not to rent to them.” SOF ¶ 115.



 7
  These injuries make clear that Fortune has standing to bring its claims. See Havens Realty Corp. v. Coleman, 455
 U.S. 363, 378-79 (1982). Defendants have never contended otherwise.


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        1. Defendants Advertise and Otherwise Communicate a Categorical Ban to the Public

        Defendants have posted public advertisements explicitly stating that individuals with

 criminal records will not be accepted. In January 2014, Tress caused such an ad to be posted on

 Craigslist. The ad, written by Tress, included as one of the applicant criteria that applicants have

 “no criminal history.” This unqualified prohibition made no distinctions based on the type of

 crime, whether it was a felony or misdemeanor, or when it occurred. SOF ¶¶ 96-100.

        The identical ad was posted repeatedly, over a period of several months, to ensure high

 viewership. Tress regarded the ads as conveying the “standard,” basic information that potential

 applicants needed to know about the selection criteria. Lead Sarasota Gold partner Aryeh

 Ginzberg was aware of the initial ad’s stated criminal records prohibition before it was posted

 and did not suggest any changes. SOF ¶¶ 97, 101-02. Collectively, the ads generated so much

 interest from the public that Campbell, charged with responding to inquiries from prospective

 applicants, “started to get very overwhelmed with all the applications” and The Sand Castle’s

 vacancy rate began to decrease as she filled units with interested callers. SOF ¶¶ 78, 103-04.

        In addition to the ads themselves, on at least 39 separate occasions from at least March

 2014 to October 2014, Defendants, through rental manager Campbell, made express written

 statements to members of the public that The Sand Castle would not consider or accept

 applicants with criminal records. During this period, Campbell responded to several dozen email

 inquiries with a standard, uniform message stating that those applying for tenancy must have “no

 criminal background.” SOF ¶¶ 105-06. Tress testified that Campbell’s response stating “no

 criminal background” “correctly state[d] the criteria” for rental applications. Indeed, had Tress

 reviewed Campbell’s emails, each stating “no criminal background” as one of the criteria, he

 would have approved that language. Campbell also told prospective applicants over the phone



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 “[t]he same thing that she said in the e-mail” concerning the applicant criteria. SOF ¶¶ 107-08.

        Real estate brokers working with The Sand Castle were also advised that applicants with

 criminal records would not be considered and should not be referred. One broker testified that

 management instructed her that the building “does not want people with criminal backgrounds”

 as tenants. SOF ¶ 114. In an April 24, 2014 email to two real estate brokers who routinely refer

 applicants to The Sand Castle, Campbell stated: “For the future, applicant cannot have a . . .

 criminal background.” In another email to the same brokers six months later, Campbell restated

 the requirement that referred applicants not have a criminal background. SOF ¶¶ 110-12.

 Herschkowitz, one of the on-site Weissman brokers and later a Sand Castle employee,

 acknowledged in a January 27, 2014 email to Tress that applicants with a criminal history “can

 absolutely not live in the sandcastle [sic]” and explained that she would convey that message to a

 particular applicant. Tress did not take issue with Herschkowitz’s statement. SOF ¶ 113.

        Accordingly, countless members of the public have been advised of The Sand Castle’s

 “no criminal background” policy through either public advertisements, word-of-mouth,

 interactions with Campbell or other staff, and independent brokers aware of the policy.

        2. Review of the Available Applicant Files Indicates Enforcement of a Ban

        The Sand Castle’s enforcement of its “no criminal background” policy has been

 remarkably effective. In discovery, Defendants made available 1145 files of applicants accepted

 by The Sand Castle from 2006 to June 2015. Of that 1145, only two accepted applicants had

 background checks definitively indicating a past felony conviction. Thus, with respect to

 felonies, Defendants’ practices produced the desired result 99.83% of the time. SOF ¶ 136.

        Further, the two applicants with background checks indicating felony records who

 became tenants were plainly admitted to the building in error. One tenant was convicted of



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 felony larceny; the other of felony assault on a police officer. In her deposition, Campbell, the

 rental manager, confirmed that Sand Castle’s explicit practice is to “automatically” reject

 applicants convicted of these very offenses. SOF ¶¶ 136-37. That these two tenants were

 accepted reflects the fact—acknowledged in depositions by top officials of Defendants—that

 mistakes are sometimes made in the tenant selection process and the landlord’s criteria are not

 always correctly applied. SOF ¶¶ 138-40. Even with these occasional errors, based on the

 available information from a ten-year period, just 0.17% of accepted applicants had a felony

 conviction. SOF ¶ 136. Accordingly, the evidence suggests that even this small percentage

 represents an aberration rather than a purposeful exception.

        The Sand Castle’s available accepted applicant files also confirm that individuals with

 misdemeanor convictions other than traffic offenses are, as a rule, not accepted. Based on the

 1145 accepted applicant files, only three individuals with background checks clearly indicating

 non-traffic misdemeanor convictions ever became tenants. SOF ¶¶ 136 n.6, 144-45. Of these

 three, only one was a tenant prior to the start of this litigation. SOF ¶ 144. Even including all

 three accepted over a ten-year period, these figures show that just 0.2% of accepted applicants

 with information available had a past non-traffic misdemeanor conviction. SOF ¶¶ 143-44.

        In sum, review of the 1145 accepted applicant files reveals that 99.6% of applicants

 accepted over the last decade have no criminal record (excluding traffic-related misdemeanors).

 Given the proportion of New York City residents with criminal records, this fact indicates that

 Defendants’ policies are highly effective at keeping people with criminal records out.

        3. Defendants Openly Concede a Categorical Felony Ban

        Campbell, the Sand Castle employee with nearly exclusive authority over tenant

 applications as a practical matter, admitted in sworn testimony that she rejects any and every



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 applicant whose background check reveals a past felony conviction. Campbell testified that it is

 “the landlord’s criteria” to deny an applicant “if it’s a felony” in the applicant’s background, and

 Campbell unequivocally applies that criterion. Accordingly, if an applicant’s Weimark report

 indicates a past felony conviction, Campbell “will tell them that they will be denied” and it

 results in “automatic denial.” SOF ¶¶ 124-26. Campbell acknowledged that applicants with

 felony convictions are rejected regardless of the nature of the felony; how long ago the felony

 occurred; and any other mitigating factors. In fact, agents and employees Defendants do not even

 know how to determine the date of the underlying crime or conviction. SOF ¶¶ 120-23, 127. On-

 site broker Gursky’s deposition testimony further confirms Sand Castle’s felony screening. She

 stated that, based on her understanding of the building criteria, she did not in the past, and would

 not today, knowingly refer a person with a felony in their background. SOF ¶ 131. At the very

 least, then, Defendants categorically exclude all persons with felony convictions.

         B. Defendants Do Not Enforce Other Stated Tenant Selection Criteria

         In addition to its criminal records criterion, Defendants purport to apply a minimum

 income of $30,000; a credit score minimum of 600 or 620; and a landlord-tenant litigation

 history criteria to applicants for tenancy. Unlike the criminal records criterion, however, each of

 these is flexibly and unevenly implemented, and often not applied at all. SOF ¶¶ 148-77. For

 example, the building routinely accepts applicants who have no income, no credit score, or a

 below-600 credit score if they have a voucher that partially or fully covers the rent. Significantly,

 about half of The Sand Castle’s current tenants receive subsidies of some kind. But the income

 and credit score thresholds are not “set in stone” even for those who do not have subsidies. SOF

 ¶¶ 149-71. Indeed, there is “never a score . . . too low” to be considered. SOF ¶ 167. The Sand

 Castle’s landlord-tenant litigation history criterion is also flexibly applied, particularly if the



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 eviction occurred five years ago or more, or the applicant presents a reasonable explanation for

 the housing issue. SOF ¶¶ 172-78.

           Thus, the evidence suggests that while Defendants purport to maintain minimum income,

 credit score, and landlord-tenant litigation history criteria, in fact, these are not barriers to entry.

     V.       The Effect of Defendants’ Criminal Records Practices

           A. Disparities in the Criminal Justice System

          African Americans and Latinos, at 58% of the nation’s more than 2.3 million prisoners, are

 overrepresented in the criminal justice system. SOF ¶ 180. In 2014, African Americans made up

 approximately 36% of the total prison population but only 12% of the general U.S. population.

 HUD Guidance at 3. That is, African Americans were incarcerated at a rate of almost three times

 their representation in the population. Id. Latinos are similarly affected—comprising 22% of the

 prison population but only 17% of the general population. By contrast, whites comprised 62% of

 the general population but only about 34% of the prison population. Id. at 3-4.

          Over 95% of current inmates will be released at some point, and each year, 700,000

 inmates are released back into their home communities. Given the incarceration statistics

 discussed above, these releasees are inevitably disproportionately African-American and Latino.

 Racial disparities are even starker in New York State, where more than 50% of inmates released

 in 2009 were African-American and over 25% were Latino. These proportions are notably stable

 over time: over half of the inmates released by the State’s Department of Correction from 1985

 to 2009 were African-American and nearly one-third were Latino. Most of those released—

 nearly two-thirds since 1985—go to New York City to live. Correspondingly, whites are

 incarcerated, and therefore released from jails and prisons, at rates significantly lower than their

 representation in the national, New York State, and New York City populations. SOF ¶¶ 182-87.



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      Given the persistence of these racial disparities, it is unsurprising that in New York City and

 State, African Americans and Latinos are far more likely than whites to have a criminal record,

 meaning that blanket bans more heavily impact members of these groups. SOF ¶¶ 188-91.

        B. Disparate Impact Analysis in the FHA Context

        The threshold factual question in a disparate impact analysis “is whether a policy,

 procedure, or practice specifically identified by the plaintiff has a significantly greater

 discriminatory impact on members of a protected class.” Robert G. Schwemm, Housing

 Discrimination: Law and Litigation § 10:6 (2015). Generally, this means that there must be

 “statistical evidence showing that the defendant’s policy or practice has a greater impact on

 protected class members than on others.” Id. To assess such an impact, a proper analysis must

 (1) identify the relevant population affected by the neutral policy or practice; (2) conduct a race-

 based comparison of groups of qualified applicants within the relevant population; and (3)

 determine whether any differences between the groups compared are statistically significant. Id.;

 Paetzwold & Willborn, The Statistics of Discrimination § 5:4-5:5 (2015). Plaintiff’s expert, Dr.

 Allan Parnell, set forth this well-established framework in his submissions. SOF ¶¶ 225-28.

        First, the analysis must “identify those individuals who would be subject to the neutral []

 practice being challenged.” Statistics of Discrimination § 5:4; Wards Cove Packing Co. v.

 Antonio, 490 U.S. 642, 651 (1989); SOF ¶¶ 227-28. This determination depends upon the nature

 of the policy or practice under scrutiny. In an eviction case, for example, “the affected group

 would be the current tenants in the defendant’s building, whereas in an admissions case, the

 affected group might be the entire local housing market.” Schwemm at 1; see also Betsey v.

 Turtle Creek Assocs., 736 F.2d 983, 988 (4th Cir. 1984). The reason for the difference is simple:

 A policy affecting only those living in the building affects only current tenants, while restrictions



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 on who can rent a unit affect any person who applies or might have applied absent the policy.

         A proper assessment of a rental restriction must consider the “whole pool of the potential

 renters who could apply,” not just actual applicants. SOF ¶ 227 (quoting Parnell Dep.). Indeed,

 in such circumstances, “studies based on general population data and potential applicant pool

 data” are preferable to an analysis of actual applicants. Malave, 320 F.3d 321, 327n.4 (2d Cir.

 2003) (“[E]ven if the data were available, the applicant pool would not have been the most

 appropriate underlying labor pool.”). This is because, under such circumstances, “the actual

 applicant pool might not reflect the potential applicant pool, due to a self-recognized inability on

 the part of potential applicants to meet the very standards challenged as being discriminatory.”

 EEOC v. Joint Apprenticeship Comm., 186 F. 3d 110, 119 (1998); Anderson v. Douglas &

 Lomason Co., Inc., 26 F.3d 1277, 1305 (5th Cir. 1994) (“[P]ractices which deter qualified

 minorities from applying for jobs impermissibly taints any analysis which employs the use of

 actual applicant-flow data”).8 Accordingly, examining actual applicants to assess the impact of a

 known rental restriction is typically inadequate.

         Assessment of the entire potential applicant pool necessitates an examination of the local

 housing market, which must be geographically determined. SOF ¶¶ 225-28, 230; HUD Guidance

 at 3. Further, in determining the pool of potential applicants affected by the challenged policy,

 “the focus . . . is on defining the qualified applicant pool.” In re Employment Discrimination

 Litig. Against State of Ala., 198 F.3d 1305, 1312 (11th Cir. 1999) (emphasis added). “[T]here

 must be evidence identifying the basic qualifications . . . and a determination, based upon these

 qualifications, of the relevant statistical pool with which to make the appropriate comparisons.”


 8
  Supreme Court precedent has also endorsed this approach. See Dothard v. Rawlinson, 433 U.S. 321, 329–30
 (1977); Griggs v. Duke Power Co., 401 U.S. 424, 430 (1971).



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 Id.; see also Statistics of Discrimination § 4:3. Thus, to the extent possible, the analysis should

 center on those who are otherwise eligible for the housing at issue. Malave, 320 F.3d at 326.

        The second stage of the analysis “involves a comparison between two groups” of

 qualified potential applicants within the relevant population—specifically, “those affected and

 those unaffected by the facially neutral policy.” Rivera v. Inc. Vill. of Farmingdale, 784 F. Supp.

 2d 133, 142-43 (E.D.N.Y. 2011) (citing Hack v. Pres. & Fellows of Yale Coll., 237 F.3d 81, 90

 (2d Cir. 2000)). “This comparison must reveal that although neutral, the policy in question

 imposes a ‘significantly adverse or disproportionate impact’ on a protected group of

 individuals.” Id. at 143. That is, if members of a protected class are affected by the policy or

 practice at a substantially higher rate than those outside the class, the first element in the

 disparate impact analysis is established. Joint Apprenticeship, 186 F.3d at 117. While “no single

 test controls in measuring disparate impact,” one established method is to compare the

 proportion of all members of the protected class who are adversely affected against the

 proportion of nonmembers of the protected class who are adversely affected. E.g., Mt. Holly

 Gardens Citizens in Action, Inc. v. Twp. of Mount Holly, 658 F.3d 375, 381-83 (3d Cir. 2011)

 (disparate impact established by Census data showing that 22.54% of African American and

 32.31% of Hispanic households would be affected by the challenged housing demolition,

 compared to only 2.73% of white households); SOF ¶¶ 238-42.

        The final stage of the analysis considers whether, as compared to the group of qualified

 applicants outside the protected class, qualified applicants within the protected class are

 disproportionately disadvantaged by the challenged policy in a manner that is legally

 meaningful, i.e. statistically significant. Bridgeport Guardians, Inc. v. City of Bridgeport, 933

 F.2d 1140, 1147 (2d Cir. 1991). “Statisticians generally regard a measured differential as being



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 statistically significant when the P value is .05 or less.” Melani v. Bd. of Higher Educ. of City of

 New York, 561 F. Supp. 769, 774 (S.D.N.Y. 1983). That is, if qualified minorities are not

 disadvantaged by the challenged policy, the “given pattern can be expected to occur” less than

 five times out of 100. Bridgeport Guardians, 933 F.2d at 1147. In addition to statistical

 significance, courts may also consider the magnitude of the disparity in determining whether

 there is a cognizable impact. E.g., Keith v. Volpe, 858 F.2d 467, 484 (9th Cir. 1988).

          C. The Disproportionate Effect of The Sand Castle’s Blanket Ban on the Potential
             Applicant Pool

          Through its experts Dr. Allan Parnell and Dr. Christopher Wildeman, Fortune has

 established that due to racial differences among those with a criminal record, African Americans

 and Latinos in The Sand Castle’s pool of potential qualified applicants are and predictably will

 be disproportionately disadvantaged relative to whites by Defendants’ exclusionary criminal

 records practices. Both experts relied upon standard recognized methodologies.

          1. Dr. Parnell’s Determination of the Qualified Applicant Pool

          Defendants’ criminal records policy excludes and affirmatively discourages all potential

 applicants with criminal records. Because it functions as a restriction on admission affecting all

 potential renters, Dr. Parnell examined the policy’s full effect on the entire potential applicant

 pool.9 To assess the impact, Dr. Parnell—whose areas of expertise include demographic analysis

 and the effects of discrimination on housing markets—first determined the geography of the



 9
   Defendants’ regular public statements, as recounted in Section IV, supra, actively discouraged applications from
 people with criminal records. Due to the chilling effect these actions had on the applicant pool, Dr. Parnell’s analysis
 was the most appropriate. Notably, it is also the only type of statistical analysis that could have been conducted with
 the data available. As Defendants retained only a handful of rejected applications during the relevant time period, it
 is not possible to assess the effect of their criminal records policies using actual applicant information. SOF ¶¶ 134,
 220-28. That is, no meaningful analysis can be conducted to ascertain how frequently applicants’ criminal record
 were a basis for rejection; the race of those rejected for any reason; or even to know how many applicants were
 rejected during the relevant period. SOF ¶¶ 224, 228.


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 potential applicant pool. Specifically, Dr. Parnell determined that, based on its location and his

 review of zip codes extracted from applications, The Sand Castle draws applicants primarily

 from Nassau County and the New York HUD Metro Fair Market Area, which includes all of

 New York City (hereinafter, collectively, the “New York-Nassau Market Area”). Over the past

 decade, 92.4% of applicants with available zip code information originated from communities

 within these combined areas, thus confirming that the entire region comprises the potential

 applicant pool.10 SOF ¶¶ 230-36. There are 3,578,042 households in the area rental market—

 1,861,248 white, 840,810 African American, and 875,984 Latino. SOF ¶ 240.

            Dr. Parnell also assessed the economic qualifications of the potential applicant pool.

 Other than criminal background, the only dispositive criterion for applicants to The Sand Castle

 is the maximum income restriction imposed by HDC, which has been construed by Sand Castle

 staff as a $70,000 income cap. SOF ¶ 91. Dr. Parnell accounted for this restriction by analyzing

 the effect of various income restrictions on the potential applicant pool. Examining available

 census data, Dr. Parnell observed that in the New York-Nassau Market Area, 2,023,737

 households in the rental market earn $0-70,000 per year in income—811,738 white households,

 576,013 African-American households, and 635,986 Latino households. Applying Sand Castle’s

 purported $30,000 minimum and a $70,000 cap, Dr. Parnell observed that there were 439,620

 white households, 272,777 African-American households, and 281,429 Latino households. As

 the $70,000 cap is a rule of thumb rather than a hard-and-fast standard, Dr. Parnell also assessed

 the same housing market at various other income levels in order to capture all income-qualified

 potential Sand Castle renters. The pool is highly diverse at any income threshold. SOF ¶ 238-40.




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      As confirmation, Campbell also testified that most applicants come from New York City. SOF ¶ 237.

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        2. Dr. Wildeman’s Criminal Record Analysis

        To complete his assessment of the impact of Defendants’ criminal records practices on

 the qualified applicant pool, Dr. Parnell relied upon the analysis conducted by Dr. Christopher

 Wildeman. Dr. Wildeman, whose areas of expertise include demographic analysis and the effects

 of mass incarceration, performed an analysis estimating the lifetime risk of criminal conviction

 by race. SOF ¶¶ 192-98. Dr. Wildeman found that, nationwide, Latinos are 2.51 times more

 likely than whites, and African Americans 4.40 times more likely than whites, to have a criminal

 record. SOF ¶ 199. This finding is consistent with studies conducted by others. SOF ¶¶ 180-90.

        Using New York-specific data, Dr. Wildeman found that racial disproportionalities in

 rates of criminal conviction are even greater in New York State and City than nationally. With

 no income threshold applied, Dr. Wildeman demonstrated that, depending on the age category,

 Latinos living in New York are at least 5.13 times more likely than whites living in New York to

 have criminal records, and that African-American New Yorkers are at least 7.07 times more

 likely than whites to have criminal records. SOF ¶ 206. Dr. Wildeman found that these

 disparities persist nationwide and in New York at several different income thresholds, including

 those assessed by Dr. Parnell. For those earning $0-70,000 the cumulative risk of having a

 criminal record is 3.01% for whites, 7.46% for Latinos, and 11.38% for African Americans. For

 those earning $30,000-70,000, the cumulative risk of having a criminal record is 1.37% for

 whites, 3% for Latinos, and 4.76% for African Americans. SOF ¶¶ 201-02. Dr. Wildeman

 concluded that significant racial disparities persist in the risk of having a criminal record

 regardless of income level, age, or the nature of the offense, and that the rate of racial disparity

 for misdemeanors and felonies is essentially the same. SOF ¶¶ 196, 200-12.




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        3. Application of Criminal Records Analysis to The Sand Castle Applicant Pool

        Dr. Parnell specifically applied Dr. Wildeman’s proportional risk findings at the $0-

 70,000 and $30,000-70,000 thresholds to the New York-Nassau Market Area, i.e., the qualified

 potential applicant pool for The Sand Castle. He determined that the differences in proportions

 between whites and minorities in this market are statistically significant. SOF ¶¶ 229, 241-43.

        To test statistical significance, Dr. Parnell performs a series of “Z-tests” using the

 proportion of each racial group with criminal records and the numerical size of the housing

 market under each income scenario. Relying on Dr. Wildeman’s analysis, Dr. Parnell concluded

 that, in the $0-70,000 segment of the housing market, the cumulative risk of having a criminal

 record is 3.01% for whites, 7.46% for Latinos, and 11.38% for African Americans. This means

 that African Americans in the New York-Nassau Market Area at this income threshold are 3.78

 times more likely, and Latinos 2.48 times more likely, to be excluded by a criminal records ban

 as compared to similarly-situated whites. Dr. Parnell finds that these differences have P-values of

 less than 0.01, meaning that they are statistically significant at a 99% confidence level. Highly

 similar results occur for the $30,000-70,000 and the $0-90,000 income bands, with the same

 level of statistical significance for the differences in proportion. SOF ¶¶ 201, 229, 241-43.

        The limited rejected applicant information maintained by Defendants supports Dr.

 Parnell’s conclusions regarding adverse impact. Through discovery, Fortune obtained 116

 rejected applicant files, an admittedly far from complete sample. Of those 116, 29 were clearly

 rejected because of their criminal background. Of the 27 of these with reliable race information

 available, at least 22 were either African American or Latino. SOF ¶¶ 134-35, 146-47.

        4. Dr. Parnell’s and Dr. Wildeman’s Analysis Showed Consistent Results Regardless of
           Variations in Income Thresholds and Geographic Areas Considered

        For the sake of comprehensiveness, Dr. Parnell not only examined the New York-Nassau

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 Market Area, but also independently examined geographical subsets of that market. In total, Dr.

 Parnell considered four alternative ways to define the applicant pool geographically: Queens

 alone, New York City alone, the New York HUD Fair Market Rental Area alone, and the New

 York-Nassau Market Area. Dr. Parnell then considered each of these four alternative geographies

 under seven different income scenarios: any income; $30,000 and up; $40,000 and up; $0 to

 $70,000; $30,000 to $70,000; $40,000 to $70,000; and $0-90,000. The markets for all four

 nested geographic housing markets are similarly racially diverse at all income levels, with

 substantial white and minority populations. SOF ¶¶ 232, 238-40.

        Similarly, Dr. Wildeman considered the proportional risk of having a criminal record for

 each of these seven incomes. He ultimately concluded that Latinos and African Americans are

 far more likely than whites to have a criminal record regardless of whether national or New York

 data are used and whether income thresholds are or are not applied. SOF ¶¶ 200-04, 210.

        Dr. Parnell overlaid these risk calculations on each market, at every income level.

 Ultimately, Dr. Parnell conducted Z-tests—a total of 56—to assess whether differences in the

 likelihood of having a criminal conviction were statistically significant under all geographic and

 income scenarios. The results were always statistically significant, with P-values less than 0.01.

 Dr. Parnell thus concluded that no matter how the applicant pool is defined geographically or

 economically, minority renters are and will be disproportionately affected by Defendants’

 exclusionary criminal-records policy as compared to whites, at a substantial rate. SOF ¶¶ 241-43.

                                       LEGAL STANDARD

        Summary judgment should be granted “if the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

 Civ. P. 56(a). “Once the moving party has made a properly supported showing sufficient to


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 suggest the absence of any genuine issue as to a material fact, the nonmoving party, in order to

 defeat summary judgment, must come forward with evidence that would be sufficient to support

 a jury verdict in his favor.” Goenaga v. Mar. of Dimes Birth Defects Found, 51 F.3d 14, 18 (2d

 Cir. 1995). The non-movant cannot “simply show that there is some metaphysical doubt.”

 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 585-86 (1986).11

                                        SUMMARY OF ARGUMENT

          The Second Circuit has long held, and the Supreme Court last year confirmed, that

 housing practices that disproportionately and adversely affect racial minorities without legitimate

 justification violate the FHA. ICP, 135 S. Ct. 2507, 2525 (2015); Huntington Branch, N.A.A.C.P.

 v. Town of Huntington, 844 F.2d 926, 934 (2d Cir. 1988). The undisputed evidence establishes

 that Fortune is entitled to summary judgment under the three-step analysis that applies to FHA

 disparate impact claims. Mhany Mgmt, 2016 WL 1128424, at *30-31; 24 C.F.R. § 100.500(c).

          First, the evidence establishes that Defendants’ criminal records policies

 disproportionately bar otherwise-qualified African Americans and Latinos from obtaining

 housing at The Sand Castle. Second, there is no evidence from which reasonable jurors could

 find that Defendants’ criminal records policy is necessary to achieve public safety, the legitimate

 interest claimed here. Third, even if Defendants could make such a showing, the evidence

 establishes that the public safety objective could be achieved through the less discriminatory

 alternative of giving individualized consideration to applicants with criminal records.

          This conclusion is further compelled by HUD’s recently-issued guidance stating that

 blanket bans in rental housing have a disparate impact and therefore violate the FHA, and by the



 11
   In applying this standard, the Court may take judicial notice of the record from related cases, and any other facts,
 such as Census data that “can be accurately and readily determined from sources whose accuracy cannot reasonably
 be questioned.” Fed. R. Evid. 201(b)(2); United States v. Alvarado, 923 F.2d 253, 256 (2d Cir. 1991).

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 longstanding recognition that blanket bans against employing people with criminal records

 violate Title VII for the same reason.

                                            ARGUMENT

 I.     Disparate Impact Liability Under the FHA Extends to Criminal Records Bans

        Sections 3604(a), (b), and (c) of the FHA prohibit, inter alia, landlords from employing

 rental practices that “cause or predictably will cause a discriminatory effect” based on race or

 national origin, regardless of whether there is evidence of discriminatory intent. ICP, 135 S. Ct.

 at 2525; 24 C.F.R. § 100.500(a). The Second Circuit follows HUD’s three-step burden-shifting

 analysis for disparate impact claims under the FHA. Mhany Mgmt., 819 F.3d at 617. First, the

 plaintiff must demonstrate a prima facie case by showing “1) the occurrence of certain outwardly

 neutral practices, and (2) a significantly adverse or disproportionate impact on persons of a

 particular type produced by the defendant’s facially neutral acts practices.” Id.; Tsombanidis v.

 W. Haven Fire Dep't, 352 F.3d 565, 577 (2d Cir. 2003). That is, the plaintiff must demonstrate

 that a facially neutral rule “actually or predictably results in racial discrimination.” Huntington

 Branch, 844 F.2d at 934.

        Second, the defendant “may rebut the prima facie case by proving that the ‘challenged

 practice is necessary to achieve one or more substantial, legitimate, nondiscriminatory

 interests.’” Mhany Mgmt., 819 F.3d at 617. And third, if that burden is met, the plaintiff can still

 prevail by showing that the same objective could be achieved through the use of a less

 discriminatory alternative. Id.

        The recently-issued HUD Guidance makes clear that categorical criminal records bans

 can be expected to have a disproportionate adverse effect on African Americans and Hispanics




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 because of racial disparities in the criminal justice system. HUD Guidance at 2.12 The Guidance

 further clarifies that housing providers must actually prove that their policy advances a legitimate

 interest and that a categorical criminal records ban that has such an effect cannot, as a matter of

 law, ever be justified. Id. at 6. Moreover, HUD’s interpretation confirms that individualized

 consideration is the appropriate less discriminatory alternative for even those policies that, while

 not categorical and serving a legitimate interest, nevertheless cause a disparate impact. Id. at 7.

 HUD’s pronouncement is fully consistent with the EEOC’s Guidelines on the same issue, and

 with the line of cases holding that blanket criminal records bans violate Title VII because they

 disproportionately exclude African Americans and Latinos from employment and are not

 necessary to attain any legitimate objective. See, e.g., Green, 523 F.2d at 1296 (holding that “a

 sweeping disqualification” based “solely on past behavior” violates Title VII where that practice

 “has a disproportionate racial impact and rests upon a tenuous or insubstantial basis”); EEOC

 Guidance at 13.13 These cases also emphasize that individualized consideration of people with

 criminal records is the appropriate less discriminatory alternative. See Green, 523 F.2d at 1297.

 II.        Defendants’ Practices Violate the FHA Based on Racial Disparate Impact

            The instant facts easily fit the traditional disparate impact paradigm and align with the

 recent HUD guidance on criminal records. As discussed above, the evidence shows that

 Defendants’ maintain a facially neutral policy that categorically discourages and/or excludes any

 applicant to The Sand Castle with a past criminal conviction. Specifically, Defendants advertise



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      The HUD Guidance is entitled to deference. United States v. Mead Corp., 533 U.S. 218, 234 (2001).
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    The extensive Title VII precedent on this question is particularly relevant given that the FHA’s “prohibition on
 discrimination [in housing] is generally interpreted in accordance with Title VII’s prohibition on discrimination in
 employment.” Davis v. City of New York, 902 F. Supp. 2d 405, 437 (S.D.N.Y. 2012). Thus, “[w]hen examining
 disparate impact claims” under the FHA, this Court should “use Title VII as a starting point.” Tsombanidis, 352 F.3d
 at 575; accord Lax v. 29 Woodmere Blvd. Owners, Inc., 812 F. Supp. 2d 228, 235 n.4 (E.D.N.Y. 2011).


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 a blanket ban; their records confirm that they rigorously enforce it; and they openly admit, at the

 very least, a felony ban. SOF ¶¶ 96-147. The Sand Castle’s blanket criminal records ban is a

 “neutral” policy or practice that, as Fortune’s experts show, disproportionately excludes African-

 American and Latino applicants in the relevant housing market. Moreover, Defendants cannot

 show that their ban has a legitimate basis; nor can they counter Fortune’s evidence that any

 legitimate safety aim could be addressed through the less discriminatory alternative of

 individualized consideration.

        Significantly, reports from Defendants’ expert, Donald Welsch, do not create any genuine

 dispute over the material facts herein because they are irrelevant, unhelpful, and unreliable.

 Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 593 (1993); Raskin v. Wyatt Co., 125 F.3d

 55, 66 (2d Cir. 1997) (expert report “not a talisman against summary judgment”). A core

 question in this case—and the question addressed by Plaintiff’s experts—is whether The Sand

 Castle’s alleged policy of excluding individuals with criminal records disproportionately and

 unjustifiably affects minorities in the applicant pool. Welsch offered no analysis of that issue,

 making his conclusions irrelevant to “any fact of consequence.” Fed. R. Evid. 401. By his own

 admission, Welsch does not dispute the findings, methods or analyses of Plaintiffs’ three experts.

 Instead, Welsch’s opinions are conclusory statements that the expert report in question contains

 “no evidence” of a particular, and often irrelevant, point. SOF ¶¶ 213-15, 249-51, 268-69. These

 conclusions are no different than those rejected in MLB Properties., Inc. v. Salvino, Inc., 542

 F.3d 290, 311 (2d Cir. 2008) (rejecting as “conclusory” an expert’s conclusion that party’s

 argument was “unsupported by the facts as I understand them and ought to be dismissed”).

        On their face, Welsch’s reports are irrelevant and non-responsive to Dr. Wildeman’s core

 conclusion that minorities nationwide and in New York, regardless of income, have a



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 substantially higher risk of conviction than whites, and to Dr. Kazemian’s core conclusion that

 blanket bans are unnecessary for public safety. Indeed, Welsch devotes only two conclusory

 sentences to his opinions on both reports. SOF ¶¶ 213-15, 269. Welsch also does not dispute Dr.

 Parnell’s core findings that the New York-Nassau Market is the appropriate applicant pool; that

 minorities in any of the markets assessed have criminal records at significantly higher rates than

 whites; nor that a policy excluding applicants because of criminal record harms minorities

 disproportionately. SOF ¶ 249-51. Instead, Welsch offers opinions, unsupported by analysis,

 which any casual observer could make; thus, his “no evidence” conclusions “do[] no more than

 [Defendants] will do in argument, i.e., propound a particular interpretation” of the record.

 LinkCo, Inc. v. Fujitsu Ltd., 2002 WL 1585551, at *2 (S.D.N.Y. July 16, 2002). As Welsch’s

 opinions do not dispute Plaintiffs’ expert’s key findings, they are simply not helpful to the trier

 of fact and immaterial. See United States v. Mulder, 273 F.3d 91, 104 (2d Cir. 2001).

        Moreover, Welsch admits that he is unqualified to offer opinions in the relevant topic

 areas and that his statements are not based on any data or methodology, much less reliable

 ones. For example, he stated that he “[does not] have a professional understanding of

 incarceration, of recidivism, [or] racial disproportionality”; was “not qualified” to assess those

 issues; and conducted no analyses of his own. SOF ¶¶ 216-18, 252-58, 270; Nimely v. City of

 New York, 414 F.3d 381, 396-97 (2d Cir. 2005). Whether looked at as a Rule 401 relevance issue

 or a Rule 702/Daubert issue, Welsch’s reports are inadmissible; they should be excluded.

        A. Step 1: The Evidence Establishes a Disproportionate Adverse Effect

        Defendants’ “outwardly neutral practice” of excluding and discouraging applicants with

 criminal records other than traffic offenses causes or predictably will cause a disproportionate,

 harmful effect on African Americans and Latinos. The starting point for measuring a housing



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 policy’s disproportionate effect “involves a comparison between two groups—those affected and

 those unaffected by the facially neutral policy.” Rivera, 784 F. Supp. 2d at 142-43. Here, the

 groups subject to comparison are African Americans, Latinos, and whites in the qualified

 potential applicant pool. Plaintiff’s experts used demographic information to compare the

 relative rates of criminal record-based exclusion for those groups. That is, Plaintiff’s experts

 assessed the likelihood that a criminal records ban would impact qualified minorities as

 compared to its impact on qualified whites in the appropriate geographical area. SOF ¶¶ 231-41.

          This method of comparison is analogous to the disparate impact methodologies applied in

 similar cases. SOF ¶¶ 201-03, 242-43, 248. Courts examine the relative effect of the challenged

 policy on the groups affected. In Tsombanidis, the court observed that plaintiffs should have

 provided “statistical evidence (1) that x% of all of the recoverings in West Haven need (or have

 good reason) to live in the ‘group settings’ prohibited by the facially neutral fire regulations at

 issue, (2) that y% of all of the non-recoverings in West Haven need (or have good reason) to live

 in such group settings prohibited by the fire regulations, and, crucially, (3) that x is significantly

 greater than y.” 352 F.3d at 577. In Bronson v. Crestwood Lake Section 1 Holding Corp., 724 F.

 Supp. 148, 154 (S.D.N.Y. 1989), the court credited an odds ratio analysis, similar to the analysis

 here, observing that, based on census and other data, “[a]pplication of Crestwood’s policy of

 rejecting holders of Section 8 vouchers, alone, would have the effect of disqualifying from

 tenancies 6.06% of the minority households in the applicant pool, but only 0.25% of non-

 minority households in the pool.” This same mode of analysis was applied by the Third Circuit

 in the recent Mt. Holly case. Mt. Holly, 658 F.3d at 381-83.14



 14
   See also, e.g., Green, 523 F.2d at 1293 (“disproportionate racial impact may be established statistically” by
 showing that “blacks . . . in a specified geographical area . . . are excluded . . . at a substantially higher rate than


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         Dr. Parnell’s undisputed analysis demonstrates that the potential applicant pool for The

 Sand Castle is the New York-Nassau Market Area. Incorporating Dr. Wildeman’s analysis of

 racial disproportionality in criminal records, Dr. Parnell compared whites to African Americans

 and Latinos in the potential applicant pool, and determined the relative effect of Defendants’

 criminal records practices on each group. In each of the four geographically-nested rental

 housing markets contributing to the pool of potential applicants, and at all seven income levels

 tested, African Americans and Latinos are and will be excluded at statistically significant and

 “substantially higher” rates than whites by practices that bar or discourage individuals with

 criminal records. Green, 523 F.2d at 1293; SOF ¶¶ 200-12, 234-43. Notably, at the $0-70,000

 threshold, nearly 1 in 8 African Americans and 1 in 13 Latinos in the New York-Nassau Market

 Area market are excluded, as compared to 1 in 33 whites. Thus, African Americans and Latinos

 in the market are 3.78 and 2.48 times more likely than whites to be affected, respectively. SOF ¶

 201. These disparities are statistically significant and more than substantial enough for a

 disparate impact claim. Keith, 858 F.2d at 484 (challenged action “had twice the adverse impact

 on minorities as it had on whites”); Greater New Orleans Fair Hous. Action Ctr. v. St. Bernard

 Parish, 2011 WL 4915524, at *7 (E.D. La. Oct. 17, 2011) (same); Miller v. Countrywide Bank,

 N.A., 571 F. Supp. 2d 251, 258-59 (D. Mass. 2008) (same); SOF ¶¶ 201-09, 241.

         The evidence therefore establishes, beyond any genuine dispute, that Defendants

 automatically and categorically exclude individuals with criminal records from living at The

 Sand Castle; that Defendants publically state that they do so; and that these practices result in an

 adverse, disproportionate impact on African Americans and Latinos.



 whites”); Rivera, 784 F. Supp. 2d at 143 (“[T]he ‘appropriate comparison’ is between Hispanic Farmingdale citizens
 who are impacted . . . and non-Hispanic Farmingdale citizens who are impacted”); accord HUD Guidance at 3
 (statistics proving impact should be “based on a housing provider’s market area”).


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        B. Step 2: Defendants’ Blanket Criminal Records Ban Is Not Necessary to Achieve
           Any Legitimate Interest

        As the facts here establish a statistically-significant disproportionate effect, the burden

 shifts to Defendants to affirmatively “prove” that their blanket criminal records ban is “necessary

 to achieve a valid interest.” ICP, 135 S. Ct. at 2524; Mhany Mgmt., 819 F.3d at 617. Fortune

 does not challenge the ability of a landlord to consider an applicant’s criminal record as part of

 its screening process. But as HUD has concluded, a blanket ban can never be shown to be

 necessary to satisfy any legitimate interest. HUD Guidance at 6 (“[A] blanket prohibition on any

 person with any conviction record – no matter when the conviction occurred, what the

 underlying conduct entailed, or what the convicted person has done since then – will be unable to

 meet this burden.”). Moreover, as the HUD Guidance and case law make clear, “a policy or

 practice that fails to consider the nature, severity, and recency of criminal conduct is unlikely to

 be proven necessary” and, thereby, lawful. Id. at 7; see Green, 523 F.2d at 1298, 1299 n.14

 (rejecting policy that disqualified applicants convicted of crimes other than traffic offenses).

        The HUD Guidance proscribes even a criminal records policy that limits blanket

 exclusion to felony convictions. The Guidance states that a “housing provider with a more

 tailored policy or practice that excludes individuals with only certain types of convictions must

 still prove that its policy is necessary to serve a substantial, legitimate, nondiscriminatory

 interest.” HUD Guidance at 6 (emphasis added). A policy categorically banning as broad a

 classification of convictions as “felonies”—which in New York can include anything from a

 violent sexual assault to the unauthorized operation of a recording device in a theater (N.Y. Penal

 Law § 275.34 )—cannot possibly satisfy Defendants’ burden of proof. Such a policy does not

 even attempt to “accurately distinguish[] between criminal conduct that indicates a demonstrable

 risk to resident safety and/or property and criminal conduct that does not,” as is required. Id.

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        As relates to felony bans, the relevant case law dictates the same result. Field v. Orkin

 Extermination Co., 2002 WL 32345739, at *1 (E.D. Pa. Feb. 21, 2002) (employer failed to show

 that termination of employees with felony convictions was related to job qualifications and that

 company’s categorical ban was “per se unlawful”); Waldon v. Cincinnati Public Schools, 941 F.

 Supp. 2d 884, 886 (S.D. Ohio 2013) (termination because of felony ban not justified “when [the]

 offenses were remote in time” and “those affected posed no obvious risk due to their past

 convictions”); cf. El v. SEPTA, 479 F.3d 232, 245-46 (3d Cir. 2007) (policy must “accurately

 distinguish between applicants that pose an unacceptable level or risk and those that do not”).

        Consistent with this precedent, Plaintiff’s expert Dr. Lila Kazemian’s undisputed report

 in this case establishes that public safety concerns do not justify the blanket exclusion of

 individuals with criminal records from housing. Specifically, Dr. Kazemian highlights the

 empirical evidence that old criminal records are not predictive of future offending; that there is a

 negative association between the number of future offenses and the time lag since the last

 offense; and that the risk of a new crime declines significantly as the amount of time since the

 last offense increases. She further observes that “most offenders eventually resemble

 nonoffenders in terms of conviction risk” and sets forth empirical studies showing that after as

 short a period as seven years, the future risk of offending for individuals who remain arrest-free

 within that period is virtually “indistinguishable from that of nonoffenders.” SOF ¶ 263. All this

 makes clear that there is no reasonable or empirical basis for a blanket ban. SOF ¶¶ 264-68.

        Defendants offer nothing to support their blanket exclusion of people with criminal

 records, nor even to justify the felony ban they openly acknowledge maintaining. Instead,

 Defendants make the legally unsupportable claim that “convicted criminals have no basis for

 complaining that landlords choose not to rent to them.” SOF ¶ 115. Thus, regardless of whether



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 the record here evidences an overall criminal records ban or only a felony ban, a straightforward

 reading of both the HUD Guidance and the case law demonstrates Defendants’ liability.

    C. Step 3: Even If Defendants’ Practices Serve Legitimate Interests, They Can Be
       Achieved by the Less Discriminatory Alternative of Individualized Consideration

        The principal reason that Defendants could never demonstrate the necessity of a blanket

 ban is that a process of individualized consideration is both less discriminatory and effectively

 serves any legitimate public safety interest in screening out dangerous individuals. Mhany

 Mgmt., 2016 WL 1128424, at *30819 F.3d at 617; HUD Guidance at 7 (noting that

 “individualized assessment of relevant mitigating information . . . is likely to have a less

 discriminatory effect than categorical exclusions”). Fortune has introduced undisputed evidence

 that individualized review is both less discriminatory and serves any legitimate safety interest.

        First, as discussed above, the burden of criminal convictions falls disproportionately upon

 African Americans and Latinos. Simply by virtue of the fact that an individualized review

 process will allow some people with criminal records to become tenants, as opposed to none or

 virtually none under a blanket policy, individualized review has less a discriminatory impact.

 Moreover, given that rental manager Campbell already conducts applicant interviews,

 individualized review would be easy for The Sand Castle to implement. SOF ¶¶ 87-88.

        Second, individualized review still allows landlords to exclude potentially dangerous

 individuals. Courts and government agencies have provided guidance about the proper screening

 of applicants. The Green Court first articulated appropriate factors for a case-by-case approach in

 this context: (1) “[t]he time elapsing since the conviction” (2) “the degree of the felon’s

 rehabilitation, and” (3) “the circumstances under which the crime was committed.” Id. at 1297.

 These are now standard considerations required by courts and federal agencies when considering

 criminal convictions. See, e.g., HUD Guidance at 7; EEOC Guidance at *14-*18; Guerrero v.

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 California Dep't of Corr., 119 F. Supp. 3d 1065, 1078-79 (N.D. Cal. 2015); McCain v. United

 States, 2015 WL 1221257, at *17 (D. Vt. Mar. 17, 2015). Increasingly more jurisdictions,

 including New York State, treat “individualized review as a best practice.” SOF ¶ 277. Indeed,

 Governor Cuomo’s recently announced prohibition on blanket bans in State-funded housing

 requires individualized review. See Exhibit B.

        Through the application of such factors, Defendants could exclude applicants who may

 pose an actual threat while admitting individuals committed to successful reentry. Page testified

 that she is personally aware of hundreds of current and former Fortune employees with criminal

 records —almost entirely African American and Latino—who, based on their post-incarceration

 efforts at self-improvement, have located rental housing in New York City and survived

 individualized landlord review but would have certainly been denied had they applied to The

 Sand Castle. She also testified about the hundreds of Fortune clients successfully placed in rental

 housing without incident, and that many such clients have survived a fair individualized review.

 SOF ¶¶ 272-76. This evidence merely confirms the obvious: many people with criminal records

 are decent tenants who do not pose a safety risk.

                           *                      *                      *

        In the face of HUD Guidance, legal precedent, and empirical evidence indicating that

 blanket bans are unnecessary and per se unlawful—and despite the fact that it is their burden to

 do so—Defendants have failed to provide any evidence showing that their blanket ban is needed

 to achieve a valid interest or that individualized consideration is not effective. Defendants cannot

 present any expert reports, studies, or actual tenant data concerning the relationship of public

 safety and people with criminal records, much less any demonstrating a need to automatically

 exclude applicants with criminal convictions. Vague expressions of a need to find “good” tenants



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 and amorphous concerns about public safety (SOF ¶ 259) are no more than “[b]ald assertions

 based on generalizations or stereotypes.” HUD Guidance at 5 (“A housing provider must,

 however, be able to prove through reliable evidence that its policy . . . actually assists in

 protecting resident safety.”). Indeed, HUD has indicated that the safety-based assertions made

 specifically by Defendants in this very case will not—alone—meet the landlord’s burden. Id. at 4

 n.23. Unfailingly, such policies are deemed illegitimate. Accordingly, no reasonable juror could

 find that Defendants have raised a valid defense that their blanket ban is “‘necessary to achieve

 one or more substantial, legitimate, nondiscriminatory interests’” or that individualized

 consideration is not an effective, less discriminatory alternative. Mhany Mgmt, 819 F.3d at 617.

 III.   Defendants’ Practices Violate § 3604(a), (b) and (c) of the Fair Housing Act

        42 U.S.C. § 3604(a) and (b). Defendants’ blanket criminal records ban

 disproportionately affects minorities in the applicant pool and cannot be justified. They therefore

 “make unavailable or deny” housing to individuals “on the basis of race” and national origin in

 violation of § 3604(a). In addition, Defendants’ practices also discriminate “in the terms,

 conditions, or privileges” of rental in violation of § 3604(b). Obtaining tenancy at The Sand

 Castle is conditioned upon not having a criminal record. Due to criminal records disparities,

 minority applicants are disproportionately and unjustifiably excluded because of this condition.

        42 U.S.C. § 3604(c). Defendants have affirmatively discouraged applications from

 people with criminal records through their repeated statements of “no criminal history” or “no

 criminal background” in their advertising for The Sand Castle and in their communications to

 potential applicants. Even if Defendants did not make these statements with the intent of limiting

 the number of minority applicants, Plaintiff’s expert reports firmly establish the discriminatory

 effect such statements have on the applicant pool. Under § 3604(c), it is the effect of the



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 statement on the reader or hearer, rather than “the speaker’s subjective belief,” that is the critical

 consideration. Rodriguez v. Vill. Green Realty, Inc., 788 F.3d 31, 53 (2d Cir. 2015).

         These exclusionary statements are unlawful because the statements “would discourage an

 ordinary reader” with a criminal record, a disproportionate number of whom are members of

 protected classes, from applying for an apartment. Ragin v. N.Y. Times Co., 923 F.2d 995, 999-

 1000 (2d Cir. 1991). Any “ordinary reader” receiving an email from Defendants’ rental manager,

 Rose Campbell, stating “no criminal background,” or who reviewed The Sand Castle’s ad on

 Craigslist stating the same, would clearly be discouraged from submitting an application or even

 calling the front office to inquire further. The ultimate result of this practice is a “chilling effect”

 on those, predominately African American and Latino potential applicants, who have a criminal

 record. United States v. New York State Dep’t of Motor Vehicles, 82 F. Supp. 2d 42, 55

 (E.D.N.Y. 2000) (noting that when a person’s desire for housing “is not translated into a formal

 application solely because of his unwillingness to engage in a futile gesture he is as much a

 victim of discrimination as is he who goes through the motions of submitting an application.”

 (quoting Int’l Broth. of Teamsters v. United States, 431 U.S. 324, 365-66 (1977)). Anyone who

 received one of Campbell’s emails, saw the Craigslist ad, or spoke to a Sand Castle employee,

 and did not apply because of the “no criminal history” statement, was unlawfully affected.15

                                               CONCLUSION

         For the reasons set forth above, Plaintiff The Fortune Society, Inc. respectfully submits

 that summary judgment should be granted in its favor as to liability based on its disparate impact

 claims under the FHA, NYSHRL, and NYCHRL against Defendants.


 15
   To the extent that Fortune has made out FHA violations FHA, it has also established violations of the NYCHRL
 and NYHRL. See Cales v. New Castle Hill Realty, AB, 2011 WL 335599, at *4 (S.D.N.Y. Jan. 31, 2011).



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 Dated: August 12, 2016                   Respectfully submitted,

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                               EXHIBIT

                                      A
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                          U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
                                             WASHINGTON, DC 20410-0500


                                                   April 4, 2016

                             Office of General Counsel Guidance on
         Application of Fair Housing Act Standards to the Use of Criminal Records by
                  Providers of Housing and Real Estate-Related Transactions

 I.        Introduction

         The Fair Housing Act (or Act) prohibits discrimination in the sale, rental, or financing of
 dwellings and in other housing-related activities on the basis of race, color, religion, sex,
 disability, familial status or national origin.1 HUD’s Office of General Counsel issues this
 guidance concerning how the Fair Housing Act applies to the use of criminal history by
 providers or operators of housing and real-estate related transactions. Specifically, this guidance
 addresses how the discriminatory effects and disparate treatment methods of proof apply in Fair
 Housing Act cases in which a housing provider justifies an adverse housing action – such as a
 refusal to rent or renew a lease – based on an individual’s criminal history.

 II.       Background

         As many as 100 million U.S. adults – or nearly one-third of the population – have a
 criminal record of some sort.2 The United States prison population of 2.2 million adults is by far
 the largest in the world.3 As of 2012, the United States accounted for only about five percent of
 the world’s population, yet almost one quarter of the world’s prisoners were held in American
 prisons.4 Since 2004, an average of over 650,000 individuals have been released annually from
 federal and state prisons,5 and over 95 percent of current inmates will be released at some point.6
 When individuals are released from prisons and jails, their ability to access safe, secure and
 affordable housing is critical to their successful reentry to society.7 Yet many formerly
 incarcerated individuals, as well as individuals who were convicted but not incarcerated, encounter
 significant barriers to securing housing, including public and other federally-subsidized housing,


 1
     42 U.S.C. § 3601 et seq.
 2
   Bureau of Justice Statistics, U.S. Dep’t of Justice, Survey of State Criminal History Information Systems, 2012, 3
 (Jan. 2014), available at https://www.ncjrs.gov/pdffiles1/bjs/grants/244563.pdf.
 3
   Nat’l Acad. Sci., Nat’l Res. Couns., The Growth of Incarceration in the United States: Exploring Causes and
 Consequences 2 (Jeremy Travis, et al. eds., 2014), available at: http://www.nap.edu/catalog/18613/the-growth-of-
 incarceration-in-the-united-states-exploring-causes.
 4
   Id.
 5
   E. Ann Carson, Bureau of Justice Statistics, U.S. Dep’t of Justice, Prisoners in 2014 (Sept. 2015) at 29, appendix
 tbls. 1 and 2, available at http://www.bjs.gov/index.cfm?ty=pbdetail&iid=5387.
 6
   Bureau of Justice Statistics, U.S. Dep’t of Justice, Reentry Trends in the United States, available at
 http://www.bjs.gov/content/pub/pdf/reentry.pdf.
 7
   See, e.g., S. Metraux, et al. “Incarceration and Homelessness,” in Toward Understanding Homelessness: The 2007
 National Symposium on Homelessness Research, #9 (D. Dennis, et al. eds., 2007), available at:
 https://www.huduser.gov/portal//publications/pdf/p9.pdf (explaining “how the increasing numbers of people leaving
 carceral institutions face an increased risk for homelessness and, conversely, how persons experiencing
 homelessness are vulnerable to incarceration.”).



                                        www.hud.gov           espanol.hud.gov
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 because of their criminal history. In some cases, even individuals who were arrested but not
 convicted face difficulty in securing housing based on their prior arrest.

         Across the United States, African Americans and Hispanics are arrested, convicted and
 incarcerated at rates disproportionate to their share of the general population.8 Consequently,
 criminal records-based barriers to housing are likely to have a disproportionate impact on minority
 home seekers. While having a criminal record is not a protected characteristic under the Fair
 Housing Act, criminal history-based restrictions on housing opportunities violate the Act if,
 without justification, their burden falls more often on renters or other housing market participants
 of one race or national origin over another (i.e., discriminatory effects liability).9 Additionally,
 intentional discrimination in violation of the Act occurs if a housing provider treats individuals
 with comparable criminal history differently because of their race, national origin or other
 protected characteristic (i.e., disparate treatment liability).

 III.     Discriminatory Effects Liability and Use of Criminal History to Make Housing
          Decisions

         A housing provider violates the Fair Housing Act when the provider’s policy or practice
 has an unjustified discriminatory effect, even when the provider had no intent to discriminate.10
 Under this standard, a facially-neutral policy or practice that has a discriminatory effect violates
 the Act if it is not supported by a legally sufficient justification. Thus, where a policy or practice
 that restricts access to housing on the basis of criminal history has a disparate impact on
 individuals of a particular race, national origin, or other protected class, such policy or practice is
 unlawful under the Fair Housing Act if it is not necessary to serve a substantial, legitimate,
 nondiscriminatory interest of the housing provider, or if such interest could be served by another
 practice that has a less discriminatory effect.11 Discriminatory effects liability is assessed under
 a three-step burden-shifting standard requiring a fact-specific analysis.12

         The following sections discuss the three steps used to analyze claims that a housing
 provider’s use of criminal history to deny housing opportunities results in a discriminatory effect
 in violation of the Act. As explained in Section IV, below, a different analytical framework is
 used to evaluate claims of intentional discrimination.




 8
   See infra nn. 16-20 and accompanying text.
 9
   The Fair Housing Act prohibits discrimination based on race, color, religion, sex, disability, familial status, and
 national origin. This memorandum focuses on race and national origin discrimination, although criminal history
 policies may result in discrimination against other protected classes.
 10
    24 C.F.R. § 100.500; accord Texas Dep’t of Hous. & Cmty. Affairs v. Inclusive Cmtys. Project, Inc., ___ U.S. ___,
 135 S. Ct. 2507 (2015).
 11
    24 C.F.R. § 100.500; see also Inclusive Cmtys. Project, 135 S. Ct. at 2514-15 (summarizing HUD’s
 Discriminatory Effects Standard in 24 C.F.R. § 100.500); id. at 2523 (explaining that housing providers may
 maintain a policy that causes a disparate impact “if they can prove [the policy] is necessary to achieve a valid
 interest.”).
 12
    See 24 C.F.R. § 100.500.


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      A. Evaluating Whether the Criminal History Policy or Practice Has a Discriminatory Effect

          In the first step of the analysis, a plaintiff (or HUD in an administrative adjudication)
 must prove that the criminal history policy has a discriminatory effect, that is, that the policy
 results in a disparate impact on a group of persons because of their race or national origin.13 This
 burden is satisfied by presenting evidence proving that the challenged practice actually or
 predictably results in a disparate impact.

         Whether national or local statistical evidence should be used to evaluate a discriminatory
 effects claim at the first step of the analysis depends on the nature of the claim alleged and the
 facts of that case. While state or local statistics should be presented where available and
 appropriate based on a housing provider’s market area or other facts particular to a given case,
 national statistics on racial and ethnic disparities in the criminal justice system may be used
 where, for example, state or local statistics are not readily available and there is no reason to
 believe they would differ markedly from the national statistics.14

         National statistics provide grounds for HUD to investigate complaints challenging
 criminal history policies.15 Nationally, racial and ethnic minorities face disproportionately high
 rates of arrest and incarceration. For example, in 2013, African Americans were arrested at a
 rate more than double their proportion of the general population.16 Moreover, in 2014, African
 Americans comprised approximately 36 percent of the total prison population in the United
 States, but only about 12 percent of the country’s total population.17 In other words, African
 Americans were incarcerated at a rate nearly three times their proportion of the general
 population. Hispanics were similarly incarcerated at a rate disproportionate to their share of the

 13
    24 C.F.R. § 100.500(c)(1); accord Inclusive Cmtys. Project, 135 S. Ct. at 2522-23. A discriminatory effect can
 also be proven with evidence that the policy or practice creates, increases, reinforces, or perpetuates segregated
 housing patterns. See 24 C.F.R. § 100.500(a). This guidance addresses only the method for analyzing disparate
 impact claims, which in HUD’s experience are more commonly asserted in this context.
 14
    Compare Dothard v. Rawlinson, 433 U.S. 321, 330 (1977) (“[R]eliance on general population demographic data
 was not misplaced where there was no reason to suppose that physical height and weight characteristics of Alabama
 men and women differ markedly from those of the national population.”) with Mountain Side Mobile Estates P’ship
 v. Sec’y of Hous. & Urban Dev., 56 F.3d 1243, 1253 (10th Cir. 1995) (“In some cases national statistics may be the
 appropriate comparable population. However, those cases are the rare exception and this case is not such an
 exception.”) (citation omitted).
 15
    Cf. El v. SEPTA, 418 F. Supp. 2d 659, 668-69 (E.D. Pa. 2005) (finding that plaintiff proved prima facie case of
 disparate impact under Title VII based on national data from the U.S. Bureau of Justice Statistics and the Statistical
 Abstract of the U.S., which showed that non-Whites were substantially more likely than Whites to have a
 conviction), aff’d on other grounds, 479 F.2d 232 (3d Cir. 2007).
 16
    See FBI Criminal Justice Information Services Division, Crime in the United States, 2013, tbl.43A, available at
 https://www.fbi.gov/about-us/cjis/ucr/crime-in-the-u.s/2013/crime-in-the-u.s.-2013/tables/table-43 (Fall 2014)
 (reporting that African Americans comprised 28.3% of all arrestees in 2013); U.S. Census Bureau, Monthly
 Postcensal Resident Population by Single Year of Age, Sex, Race and Hispanic Origin: July 1, 2013 to December 1,
 2013, available at http://www.census.gov/popest/data/national/asrh/2014/2014-nat-res.html (reporting data showing
 that individuals identifying as African American or Black alone made up only 12.4% of the total U.S. population at
 2013 year-end).
 17
    See E. Ann Carson, Bureau of Justice Statistics, U.S. Dep’t of Justice, Prisoners in 2014 (Sept. 2015) at tbl. 10,
 available at http://www.bjs.gov/index.cfm?ty=pbdetail&iid=5387; and U.S. Census Bureau, Monthly Postcensal
 Resident Population by Single Year of Age, Sex, Race and Hispanic Origin: July 1, 2014 to December 1, 2014,
 available at http://www.census.gov/popest/data/national/asrh/2014/2014-nat-res.html.


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 general population, with Hispanic individuals comprising approximately 22 percent of the prison
 population, but only about 17 percent of the total U.S. population.18 In contrast, non-Hispanic
 Whites comprised approximately 62 percent of the total U.S. population but only about 34
 percent of the prison population in 2014.19 Across all age groups, the imprisonment rates for
 African American males is almost six times greater than for White males, and for Hispanic
 males, it is over twice that for non-Hispanic White males.20

         Additional evidence, such as applicant data, tenant files, census demographic data and
 localized criminal justice data, may be relevant in determining whether local statistics are
 consistent with national statistics and whether there is reasonable cause to believe that the
 challenged policy or practice causes a disparate impact. Whether in the context of an
 investigation or administrative enforcement action by HUD or private litigation, a housing
 provider may offer evidence to refute the claim that its policy or practice causes a disparate
 impact on one or more protected classes.

    Regardless of the data used, determining whether a policy or practice results in a disparate
 impact is ultimately a fact-specific and case-specific inquiry.

      B. Evaluating Whether the Challenged Policy or Practice is Necessary to Achieve a
         Substantial, Legitimate, Nondiscriminatory Interest

         In the second step of the discriminatory effects analysis, the burden shifts to the housing
 provider to prove that the challenged policy or practice is justified – that is, that it is necessary to
 achieve a substantial, legitimate, nondiscriminatory interest of the provider.21 The interest
 proffered by the housing provider may not be hypothetical or speculative, meaning the housing
 provider must be able to provide evidence proving both that the housing provider has a
 substantial, legitimate, nondiscriminatory interest supporting the challenged policy and that the
 challenged policy actually achieves that interest.22

         Although the specific interest(s) that underlie a criminal history policy or practice will no
 doubt vary from case to case, some landlords and property managers have asserted the protection
 of other residents and their property as the reason for such policies or practices.23 Ensuring

 18
    See id.
 19
    See id.
 20
    E. Ann Carson, Bureau of Justice Statistics, U.S. Dep’t of Justice, Prisoners in 2014 (Sept. 2015) at table 10,
 available at http://www.bjs.gov/index.cfm?ty=pbdetail&iid=5387.
 21
    24 C.F.R. § 100.500(c)(2); see also Inclusive Cmtys. Project, 135 S. Ct. at 2523.
 22
    See 24 C.F.R. § 100.500(b)(2); see also 78 Fed. Reg. 11460, 11471 (Feb. 15, 2013).
 23
    See, e.g., Answer to Amended Complaint at 58, The Fortune Society, Inc. v. Sandcastle Towers Hsg. Dev. Fund
 Corp., No. 1:14-CV-6410 (E.D.N.Y. May 21, 2015), ECF No. 37 (“The use of criminal records searches as part of
 the overall tenant screening process used at Sand Castle serves valid business and security functions of protecting
 tenants and the property from former convicted criminals.”); Evans v. UDR, Inc., 644 F.Supp.2d 675, 683 (E.D.N.C.
 2009) (noting, based on affidavit of property owner, that “[t]he policy [against renting to individuals with criminal
 histories is] based primarily on the concern that individuals with criminal histories are more likely than others to
 commit crimes on the property than those without such backgrounds … [and] is thus based [on] concerns for the
 safety of other residents of the apartment complex and their property."); see also J. Helfgott, Ex-Offender Needs
 Versus Community Opportunity in Seattle, Washington, 61 Fed. Probation 12, 20 (1997) (finding in a survey of 196


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 resident safety and protecting property are often considered to be among the fundamental
 responsibilities of a housing provider, and courts may consider such interests to be both
 substantial and legitimate, assuming they are the actual reasons for the policy or practice.24 A
 housing provider must, however, be able to prove through reliable evidence that its policy or
 practice of making housing decisions based on criminal history actually assists in protecting
 resident safety and/or property. Bald assertions based on generalizations or stereotypes that any
 individual with an arrest or conviction record poses a greater risk than any individual without
 such a record are not sufficient to satisfy this burden.

          1. Exclusions Because of Prior Arrest

          A housing provider with a policy or practice of excluding individuals because of one or
 more prior arrests (without any conviction) cannot satisfy its burden of showing that such policy
 or practice is necessary to achieve a substantial, legitimate, nondiscriminatory interest. 25 As the
 Supreme Court has recognized, “[t]he mere fact that a man has been arrested has very little, if
 any, probative value in showing that he has engaged in any misconduct. An arrest shows nothing
 more than that someone probably suspected the person apprehended of an offense.”26 Because
 arrest records do not constitute proof of past unlawful conduct and are often incomplete (e.g., by
 failing to indicate whether the individual was prosecuted, convicted, or acquitted), 27 the fact of
 an arrest is not a reliable basis upon which to assess the potential risk to resident safety or
 property posed by a particular individual. For that reason, a housing provider who denies
 housing to persons on the basis of arrests not resulting in conviction cannot prove that the
 exclusion actually assists in protecting resident safety and/or property.



 landlords in Seattle that of the 43% of landlords that said they were inclined to reject applicants with a criminal
 history, the primary reason for their inclination was protection and safety of community).
 24
    As explained in HUD’s 2013 Discriminatory Effects Final Rule, a “substantial” interest is a core interest of the
 organization that has a direct relationship to the function of that organization. The requirement that an interest be
 “legitimate” means that a housing provider’s justification must be genuine and not false or fabricated. See 78 Fed.
 Reg. at 11470; see also Charleston Hous. Auth. v. U.S. Dep’t of Agric., 419 F.3d 729, 742 (8th Cir. 2005)
 (recognizing that, “in the abstract, a reduction in the concentration of low income housing is a legitimate goal,” but
 concluding “that the Housing Authority had not shown a need for deconcentration in this instance, and in fact, had
 falsely represented the density [of low income housing] at the location in question in an attempt to do so”).
 25
    HUD recently clarified that arrest records may not be the basis for denying admission, terminating assistance, or
 evicting tenants from public and other federally-assisted housing. See Guidance for Public Housing Agencies
 (PHAs) and Owners of Federally-Assisted Housing on Excluding the Use of Arrest Records in Housing Decisions,
 HUD PIH Notice 2015-19, (November 2, 2015), available at:
 http://portal.hud.gov/hudportal/documents/huddoc?id=PIH2015-19.pdf.
 26
    Schware v. Bd of Bar Examiners, 353 U.S. 232, 241 (1957); see also United States v. Berry, 553 F.3d 273, 282
 (3d Cir. 2009) (“[A] bare arrest record – without more – does not justify an assumption that a defendant has
 committed other crimes and it therefore cannot support increasing his/her sentence in the absence of adequate proof
 of criminal activity.”); United States v. Zapete-Garcia, 447 F.3d 57, 60 (1st Cir. 2006) (“[A] mere arrest, especially
 a lone arrest, is not evidence that the person arrested actually committed any criminal conduct.”).
 27
    See, e.g., U.S. Dep’t of Justice, The Attorney General’s Report on Criminal History Background Checks at 3, 17
 (June 2006), available at http://www.bjs.gov/content/pub/pdf/ag_bgchecks_report.pdf (reporting that the FBI’s
 Interstate Identification Index system, which is the national system designed to provide automated criminal history
 record information and “the most comprehensive single source of criminal history information in the United States,”
 is “still missing final disposition information for approximately 50 percent of its records”).


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         Analogously, in the employment context, the Equal Employment Opportunity
 Commission has explained that barring applicants from employment on the basis of arrests not
 resulting in conviction is not consistent with business necessity under Title VII because the fact
 of an arrest does not establish that criminal conduct occurred.28

          2. Exclusions Because of Prior Conviction

         In most instances, a record of conviction (as opposed to an arrest) will serve as sufficient
 evidence to prove that an individual engaged in criminal conduct.29 But housing providers that
 apply a policy or practice that excludes persons with prior convictions must still be able to prove
 that such policy or practice is necessary to achieve a substantial, legitimate, nondiscriminatory
 interest. A housing provider that imposes a blanket prohibition on any person with any
 conviction record – no matter when the conviction occurred, what the underlying conduct
 entailed, or what the convicted person has done since then – will be unable to meet this burden.
 One federal court of appeals held that such a blanket ban violated Title VII, stating that it “could
 not conceive of any business necessity that would automatically place every individual convicted
 of any offense, except a minor traffic offense, in the permanent ranks of the unemployed.”30
 Although the defendant-employer in that case had proffered a number of theft and safety-related
 justifications for the policy, the court rejected such justifications as “not empirically validated.”31

          A housing provider with a more tailored policy or practice that excludes individuals with
 only certain types of convictions must still prove that its policy is necessary to serve a
 “substantial, legitimate, nondiscriminatory interest.” To do this, a housing provider must show
 that its policy accurately distinguishes between criminal conduct that indicates a demonstrable
 risk to resident safety and/or property and criminal conduct that does not.32




 28
    See U.S. Equal Emp’t Opportunity Comm’n, EEOC Enforcement Guidance, Number 915.002, 12 (Apr. 25, 2012),
 available at http://www.eeoc.gov/laws/guidance/arrest_conviction.cfm; see also Gregory v. Litton Systems, Inc.,
 316 F. Supp. 401, 403 (C.D. Cal. 1970) (holding that defendant employer’s policy of excluding from employment
 persons with arrests without convictions unlawfully discriminated against African American applicants in violation
 of Title VII because there “was no evidence to support a claim that persons who have suffered no criminal
 convictions but have been arrested on a number of occasions can be expected, when employed, to perform less
 efficiently or less honestly than other employees,” such that “information concerning a … record of arrests without
 conviction, is irrelevant to [an applicant’s] suitability or qualification for employment”), aff’d, 472 F.2d 631 (9th
 Cir. 1972).
 29
    There may, however, be evidence of an error in the record, an outdated record, or another reason for not relying
 on the evidence of a conviction. For example, a database may continue to report a conviction that was later
 expunged, or may continue to report as a felony an offense that was subsequently downgraded to a misdemeanor.
 See generally SEARCH, Report of the National Task Force on the Commercial Sale of Criminal Justice Record
 Information (2005), available at http://www.search.org/files/pdf/RNTFCSCJRI.pdf.
 30
    Green v. Missouri Pacific R.R., 523 F.2d 1290, 1298 (8th Cir. 1975).
 31
    Id.
 32
    Cf. El, 479 F.3d at 245-46 (stating that “Title VII … require[s] that the [criminal conviction] policy under review
 accurately distinguish[es] between applicants that pose an unacceptable level or risk and those that do not”).


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         A policy or practice that fails to take into account the nature and severity of an
 individual’s conviction is unlikely to satisfy this standard.33 Similarly, a policy or practice that
 does not consider the amount of time that has passed since the criminal conduct occurred is
 unlikely to satisfy this standard, especially in light of criminological research showing that, over
 time, the likelihood that a person with a prior criminal record will engage in additional criminal
 conduct decreases until it approximates the likelihood that a person with no criminal history will
 commit an offense. 34

        Accordingly, a policy or practice that fails to consider the nature, severity, and recency of
 criminal conduct is unlikely to be proven necessary to serve a “substantial, legitimate,
 nondiscriminatory interest” of the provider. The determination of whether any particular
 criminal history-based restriction on housing satisfies step two of the discriminatory effects
 standard must be made on a case-by-case basis.35

      C. Evaluating Whether There Is a Less Discriminatory Alternative

         The third step of the discriminatory effects analysis is applicable only if a housing
 provider successfully proves that its criminal history policy or practice is necessary to achieve its
 substantial, legitimate, nondiscriminatory interest. In the third step, the burden shifts back to the
 plaintiff or HUD to prove that such interest could be served by another practice that has a less
 discriminatory effect.36

         Although the identification of a less discriminatory alternative will depend on the
 particulars of the criminal history policy or practice under challenge, individualized assessment
 of relevant mitigating information beyond that contained in an individual’s criminal record is
 likely to have a less discriminatory effect than categorical exclusions that do not take such
 additional information into account. Relevant individualized evidence might include: the facts or
 circumstances surrounding the criminal conduct; the age of the individual at the time of the
 conduct; evidence that the individual has maintained a good tenant history before and/or after the
 conviction or conduct; and evidence of rehabilitation efforts. By delaying consideration of
 criminal history until after an individual’s financial and other qualifications are verified, a
 housing provider may be able to minimize any additional costs that such individualized
 assessment might add to the applicant screening process.

 33
    Cf. Green, 523 F.2d at 1298 (holding that racially disproportionate denial of employment opportunities based on
 criminal conduct that “does not significantly bear upon the particular job requirements is an unnecessarily harsh and
 unjust burden” and violated Title VII).
 34
    Cf. El, 479 F.3d at 247 (noting that plaintiff’s Title VII disparate impact claim might have survived summary
 judgment had plaintiff presented evidence that “there is a time at which a former criminal is no longer any more
 likely to recidivate than the average person….”); see also Green, 523 F.2d at 1298 (permanent exclusion from
 employment based on any and all offenses violated Title VII); see Megan C. Kurlychek et al., Scarlet Letters and
 Recidivism: Does an Old Criminal Record Predict Future Offending?, 5 Criminology and Pub. Pol’y 483 (2006)
 (reporting that after six or seven years without reoffending, the risk of new offenses by persons with a prior criminal
 history begins to approximate the risk of new offenses among persons with no criminal record).
 35
    The liability standards and principles discussed throughout this guidance would apply to HUD-assisted housing
 providers just as they would to any other housing provider covered by the Fair Housing Act. See HUD PIH Notice
 2015-19 supra n. 25. Section 6 of that Notice addresses civil rights requirements.
 36
    24 C.F.R. § 100.500(c)(3); accord Inclusive Cmtys. Project, 135 S. Ct. 2507.


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       D. Statutory Exemption from Fair Housing Act Liability for Exclusion Because of Illegal
          Manufacture or Distribution of a Controlled Substance

         Section 807(b)(4) of the Fair Housing Act provides that the Act does not prohibit
 “conduct against a person because such person has been convicted … of the illegal manufacture
 or distribution of a controlled substance as defined in section 102 of the Controlled Substances
 Act (21 U.S.C. 802).”37 Accordingly, a housing provider will not be liable under the Act for
 excluding individuals because they have been convicted of one or more of the specified drug
 crimes, regardless of any discriminatory effect that may result from such a policy.

        Limitation. Section 807(b)(4) only applies to disparate impact claims based on the denial
 of housing due to the person’s conviction for drug manufacturing or distribution; it does not
 provide a defense to disparate impact claims alleging that a policy or practice denies housing
 because of the person’s arrest for such offenses. Similarly, the exemption is limited to disparate
 impact claims based on drug manufacturing or distribution convictions, and does not provide a
 defense to disparate impact claims based on other drug-related convictions, such as the denial of
 housing due to a person’s conviction for drug possession.

 IV.      Intentional Discrimination and Use of Criminal History

         A housing provider may also violate the Fair Housing Act if the housing provider
 intentionally discriminates in using criminal history information. This occurs when the provider
 treats an applicant or renter differently because of race, national origin or another protected
 characteristic. In these cases, the housing provider’s use of criminal records or other criminal
 history information as a pretext for unequal treatment of individuals because of race, national
 origin or other protected characteristics is no different from the discriminatory application of any
 other rental or purchase criteria.

        For example, intentional discrimination in violation of the Act may be proven based on
 evidence that a housing provider rejected an Hispanic applicant based on his criminal record, but
 admitted a non-Hispanic White applicant with a comparable criminal record. Similarly, if a
 housing provider has a policy of not renting to persons with certain convictions, but makes
 exceptions to it for Whites but not African Americans, intentional discrimination exists.38 A
 disparate treatment violation may also be proven based on evidence that a leasing agent assisted
 a White applicant seeking to secure approval of his rental application despite his potentially
 disqualifying criminal record under the housing provider’s screening policy, but did not provide
 such assistance to an African American applicant.39

 37
    42 U.S.C. § 3607(b)(4).
 38
    Cf. Sherman Ave. Tenants’ Assn. v. District of Columbia, 444 F.3d 673, 683-84 (D.C. Cir. 2006) (upholding
 plaintiff’s disparate treatment claim based on evidence that defendant had not enforced its housing code as
 aggressively against comparable non-Hispanic neighborhoods as it did in plaintiff’s disproportionately Hispanic
 neighborhood).
 39
    See, e.g., Muriello, 217 F. 3d at 522 (holding that Plaintiff's allegations that his application for federal housing
 assistance and the alleged existence of a potentially disqualifying prior criminal record was handled differently than
 those of two similarly situated white applicants presented a prima facie case that he was discriminated against
 because of race, in violation of the Fair Housing Act).


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         Discrimination may also occur before an individual applies for housing. For example,
 intentional discrimination may be proven based on evidence that, when responding to inquiries
 from prospective applicants, a property manager told an African American individual that her
 criminal record would disqualify her from renting an apartment, but did not similarly discourage
 a White individual with a comparable criminal record from applying.

         If overt, direct evidence of discrimination does not exist, the traditional burden-shifting
 method of establishing intentional discrimination applies to complaints alleging discriminatory
 intent in the use of criminal history information.40 First, the evidence must establish a prima
 facie case of disparate treatment. This may be shown in a refusal to rent case, for example, by
 evidence that: (1) the plaintiff (or complainant in an administrative enforcement action) is a
 member of a protected class; (2) the plaintiff or complainant applied for a dwelling from the
 housing provider; (3) the housing provider rejected the plaintiff or complainant because of his or
 her criminal history; and (4) the housing provider offered housing to a similarly-situated
 applicant not of the plaintiff or complainant’s protected class, but with a comparable criminal
 record. It is then the housing provider’s burden to offer “evidence of a legitimate,
 nondiscriminatory reason for the adverse housing decision.”41 A housing provider’s
 nondiscriminatory reason for the challenged decision must be clear, reasonably specific, and
 supported by admissible evidence.42 Purely subjective or arbitrary reasons will not be sufficient
 to demonstrate a legitimate, nondiscriminatory basis for differential treatment.43

         While a criminal record can constitute a legitimate, nondiscriminatory reason for a
 refusal to rent or other adverse action by a housing provider, a plaintiff or HUD may still prevail
 by showing that the criminal record was not the true reason for the adverse housing decision, and
 was instead a mere pretext for unlawful discrimination. For example, the fact that a housing
 provider acted upon comparable criminal history information differently for one or more
 individuals of a different protected class than the plaintiff or complainant is strong evidence that
 a housing provider was not considering criminal history information uniformly or did not in fact
 have a criminal history policy. Or pretext may be shown where a housing provider did not
 actually know of an applicant’s criminal record at the time of the alleged discrimination.
 Additionally, shifting or inconsistent explanations offered by a housing provider for the denial of
 an application may also provide evidence of pretext. Ultimately, the evidence that may be
 offered to show that the plaintiff or complainant’s criminal history was merely a pretextual

 40
    See, generally, McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973) (articulating the concept of a “prima
 facie case” of intentional discrimination under Title VII); see, e.g., Allen v. Muriello, 217 F. 3rd 517, 520-22 (7th
 Cir. 2000) (applying prima facie case analysis to claim under the Fair Housing Act alleging disparate treatment
 because of race in housing provider’s use of criminal records to deny housing).
 41
    Lindsay v. Yates, 578 F.3d 407, 415 (6th Cir. 2009) (quotations and citations omitted).
 42
    See, e.g., Robinson v. 12 Lofts Realty, Inc., 610 F.2d 1032, 1039-40 (2d Cir. 1979) (“A prima facie case having
 been established, a Fair Housing Act claim cannot be defeated by a defendant which relies on merely hypothetical
 reasons for the plaintiff’s rejection.”).
 43
    See, e.g., Muriello, 217 F.3d at 522 (noting that housing provider’s “rather dubious explanation for the differing
 treatment” of African American and White applicants’ criminal records “puts the issue of pretext in the lap of a trier
 of fact”); Soules v. U.S. Dep’t of Hous. and Urban Dev., 967 F.2d 817, 822 (2d Cir. 1992) (“In examining the
 defendant’s reason, we view skeptically subjective rationales concerning why he denied housing to members or
 protected groups [because] ‘clever men may easily conceal their [discriminatory] motivations.’” (quoting United
 States v. City of Black Jack, Missouri, 508 F.2d 1179, 1185 (8th Cir. 1974)).


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 justification for intentional discrimination by the housing provider will depend on the facts of a
 particular case.

         The section 807(b)(4) exemption discussed in Section III.D., above, does not apply to
 claims of intentional discrimination because by definition, the challenged conduct in intentional
 discrimination cases is taken because of race, national origin, or another protected characteristic,
 and not because of the drug conviction. For example, the section 807(b)(4) exemption would not
 provide a defense to a claim of intentional discrimination where the evidence shows that a
 housing provider rejects only African American applicants with convictions for distribution of a
 controlled substance, while admitting White applicants with such convictions.

 V.     Conclusion

         The Fair Housing Act prohibits both intentional housing discrimination and housing
 practices that have an unjustified discriminatory effect because of race, national origin or other
 protected characteristics. Because of widespread racial and ethnic disparities in the U.S. criminal
 justice system, criminal history-based restrictions on access to housing are likely
 disproportionately to burden African Americans and Hispanics. While the Act does not prohibit
 housing providers from appropriately considering criminal history information when making
 housing decisions, arbitrary and overbroad criminal history-related bans are likely to lack a
 legally sufficient justification. Thus, a discriminatory effect resulting from a policy or practice
 that denies housing to anyone with a prior arrest or any kind of criminal conviction cannot be
 justified, and therefore such a practice would violate the Fair Housing Act.

        Policies that exclude persons based on criminal history must be tailored to serve the
 housing provider’s substantial, legitimate, nondiscriminatory interest and take into consideration
 such factors as the type of the crime and the length of the time since conviction. Where a policy
 or practice excludes individuals with only certain types of convictions, a housing provider will
 still bear the burden of proving that any discriminatory effect caused by such policy or practice is
 justified. Such a determination must be made on a case-by-case basis.

        Selective use of criminal history as a pretext for unequal treatment of individuals based
 on race, national origin, or other protected characteristics violates the Act.


                               Helen R. Kanovsky, General Counsel




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                               EXHIBIT

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